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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

FUNDAMENTAL INNOVATION                                §
SYSTEMS INTERNATIONAL, LLC,                           §
                                                      §
                   Plaintiff                          §
                                                      §
v.                                                    §    Civil Action No. 3:17-cv-1827-N
                                                      §
ZTE CORPORATION et al.                                §
                                                      §
                   Defendants.                        §
                                                      §

                  DECLARATION OF NATALIE A. BENNETT IN SUPPORT OF
              DEFENDANT’S MOTION TO DISMISS FOR IMPROPER SERVICE

                I, Natalie A. Bennett, state and declare as follows:

         1.     I am partner at McDermott Will & Emery LLP, counsel for ZTE Corporation.

Unless otherwise stated, I have personal knowledge of the facts set forth in this declaration and if

called as a witness, could testify competently to such facts under oath.

         2.     Attached as Exhibit 1 is a true and correct copy of James Ray Wood’s Declaration

in Support of Defendant’s Motion to Dismiss for Improper Service as filed in this case on August

18, 2017. Mr. Wood is Chief Patent Counsel for ZTE (USA), Inc., a defendant in this action.

         3.     Attached to this Declaration as Exhibit A is a true and correct copy of a publicly-

available Company Profile of ZTE Corporation, an S&P Capital IQ Report (compiled by market

analysts). Exhibit A details the Company’s business activities, the identify of ZTE Corporation’s

high level management, the number of employees worldwide, and sets forth additional facts

related to ZTE Corporation’s business.

         4.     Attached to this Declaration as Exhibit B is a publicly-available Company Profile

of ZTE USA, an S&P Capital IQ Report (compiled by market analysts). Exhibit B details the


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Company’s business activities, the identify of ZTE USA’s high level management, the number

of employees in the United States, and sets forth additional facts related to ZTE USA’s business.

       5.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing facts are true and correct based on my own personal knowledge.



Executed on August 18, 2017 in Washington D.C.




                                                    __________________________________
                                                    Natalie A. Bennett




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